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                               UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION

IN RE:                                                   )
                                                         )
CINDY SMITH LAMMONDS                                     )       CASE NO. 15-30158
                                                         )       CHAPTER 7
                                 Debtor.                 )
                                                         )

                                  REPORT OF SALE OF REAL PROPERTY

         COMES NOW the Trustee, by and through his counsel, and files this Report of Sale of Real Property of
the estate.

        Pursuant to the Order of this Court entered on 26 July 2017 in this case as docket entry no. 50, which said
Order authorized the Trustee to sell certain real estate at 7907 Teakwood Road, Indian Trail, North Carolina, the
Trustee has in fact sold and transferred said real estate pursuant to said Order. The Trustee has on hand from the
sale $112,027.15. A copy of the Settlement Statement is attached hereto and incorporated by reference.

         Pursuant to the Order, the Trustee will immediately disburse to the Debtor, Cindy Smith Lammonds, a
partial exemption amount of $8,500.00. Additionally, the Trustee notes that the secured claim of Nationstar
Mortgage, LLC, to the extent valid, is attached to the proceeds held by the Trustee.

         This the 4th day of August, 2017.
                                                         /s/ R. Keith Johnson
                                                         R. Keith Johnson, Trustee
                                                         and attorney for Trustee
                                                         NC State Bar No. 8840
                                                         1275 Highway 16 South
                                                         Stanley, North Carolina 28164
                                                         (704) 827-4200
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